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                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF INDIANA
                                     FORT WAYNE DIVISION


UNITED STATES OF AMERICA,                               )
                                                        )
                                Plaintiff,              )
                                                        )
                        v.                              )       CAUSE NO. 1:08-cr-33 WCL
                                                        )
JOSE LUIS M. BORJAS                                     )
                                                        )
                                Defendant.              )


                               ACCEPTANCE OF PLEA OF GUILTY,
                                  ADJUDICATION OF GUILTY AND
                                       NOTICE OF SENTENCING


        Pursuant to the Report and Recommendation of the United States Magistrate Judge, to which the

defendant has waived objection, and subject to this Court's consideration of the Plea Agreement pursuant

to Fed. R. Crim. P. 11(e)(2), the plea of guilty of the offense charged in the indictment is hereby accepted,

and the defendant is adjudged guilty of such offense. The defendant and his counsel shall appear before

the undersigned for sentencing on the 15th day of December, 2008, at 10:30 a.m. The attention of the

parties is directed to the timetable outlined in the Presentence Scheduling Notice attached hereto.

If counsel are unable to comply with this timetable, they shall obtain an extension of the filing deadline

from the court.

        If objections to the to the pre-sentence report are not timely filed, thereby affording the court an

adequate opportunity to review said objections, the sentencing hearing MUST BE CONTINUED.

Accordingly, if defense counsel wishes to present an objection to the court, and said objection has not been

timely filed, it will be the responsibility of said counsel to file a motion for continuance of the sentencing,
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and provide to the court a full recitation of the reasons why the objection or objections were not timely

filed.

         IT IS SO ORDERED this       12th    day of September , 2008.




                                             /s/William C. Lee
                                             William C. Lee, Judge
                                             United States District Court
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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                  FORT WAYNE DIVISION

United States of America,

              vs.                             Criminal No.    1:08-cr-33 WCL


Jose Luis Borjas

              Defendant.

                            PRESENTENCE SCHEDULING NOTICE

 Date of Referral to Probation Officer:                              August 27, 2008
                                                                   (Date of Plea or Verdict)


 The Proposed Presentence Report Shall be Disclosed to
 Counsel no Later Than:                                            November 10, 2008
                                                                 (35 Days Before Sentencing)


 Counsel’s Written Objections or Acknowledgment of
 No Objections to the Pre-Sentence Report Shall be
 Delivered to the Probation Officer and Opposing
 Counsel no Later Than 14 Days After Disclosure.

 The Presentence Report Shall be Submitted to the
 Court and Disclosed to Counsel no Later Than:                      December 5, 2008
                                                                 (10 Days Before Sentencing)


 Judgment and Sentencing Date:                                     December 15, 2008
                                                             (At Least 70 Days After Plea or Verdict)
